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               IN THE UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

CHRISTOPHER CANTU, as the)
Administrator of the Estate of
                         )
Robert Earl Lawrence,    )
                         )
        Plaintiff,       )
                         )
v.                       )                 Case No. 1:16-cv-1003-ECM-DAB
                         )
CITY OF DOTHAN, ALABAMA, )
et al.,                  )
                         )
        Defendants.      )

                MEMORDANDUM OPINION AND ORDER

      This cause comes before the Court on the parties’ cross motions for summary

judgment: Plaintiff’s Motion for Partial Summary Judgment (Doc. 43) and

Defendants’ City of Dothan, Alabama, Benton, Summerlin, and Woodruff’s Motion

for Summary Judgment (Doc. 63). The Magistrate Judge, after considering these

motions, submitted a Report and Recommendation (Doc. 73) recommending

Plaintiff’s Motion for Partial Summary Judgment (Doc. 43) be denied; and

Defendants’ Motion for Summary Judgment on behalf of the City of Dothan,

Alabama; Greg Benton, and Chris Summerlin (Doc. 63) be granted and final

summary judgment be entered in these Defendants’ favor, and Defendants’ Motion

for Summary Judgment as to Adrienne Woodruff (Doc. 63) be denied. Based on an

independent review of the record and for the reasons discussed below, the Report
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and Recommendation will be ADOPTED IN PART and REJECTED IN PART. It

will be ADOPTED as to the Magistrate Judge’s recommendation that summary

judgment is due to be granted as to Defendants Greg Benton, Chris Summerlin, and

the City of Dothan.       However, the Court will reject the Magistrate Judge's

recommendation on summary judgment to deny Woodruff qualified immunity.


I.      JURISDICTION AND VENUE

        The court has subject-matter jurisdiction over this action under 28 U.S.C. §

1331. The parties do not contest personal jurisdiction or venue.


II.     STANDARD OF REVIEW

        A district court judge “may accept, reject, or modify, in whole or in part, the

findings or recommendations made by the magistrate judge.” 18 U.S.C. § 636(b)(1).

The court reviews the Recommendation using the same summary judgment standard

applied by the Magistrate Judge. (See Doc. # 209, at 4–6.) Summary judgment is

appropriate when the “movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.

P. 56(a).


III.    BACKGROUND




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      Plaintiff Christopher Cantu is the personal representative of the Estate of

Robert Earl Lawrence who was fatally shot by Defendant Adrianne Woodruff, a

Dothan Police Department sergeant. The material facts are largely undisputed. The

shooting and the events leading up to it are captured on multiple video and audio

recordings, including a video from inside the office of the Dothan County Animal

Shelter, a cell-phone video recorded by Lawrence’s girlfriend and himself, and the

dash-mounted camera in Officer Alan Rhodes’ patrol car. There are also audio

recordings of three telephone calls from the animal shelter to Dothan Police dispatch.

      On December 30, 2014, Lawrence entered the Dothan County Animal Shelter

reception area with a dog he wanted to surrender. Woodruff was the sergeant on

duty assigned to supervise the animal shelter. Receptionist Patricia Holley and Chief

Animal Services Officer Renee Skipper were also working at the shelter that day.

Lawrence told Holley he was from Geneva County, and she advised that the shelter

only accepted animals from Houston County. Lawrence stated that he found the dog

at a Wal-Mart in Dothan, Alabama. Woodruff walked in from the adjoining office

after she heard Lawrence getting upset about being asked for identification.

Lawrence refused to produce identification, purporting to cite federal law and

claiming invasion of privacy. Woodruff agreed to accept the dog without Lawrence

producing identification if he would sign a routine intake form. Lawrence refused

to sign the form and threatened to abandon the dog at the end of the road. Woodruff

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told him that abandoning the animal would be a crime. Lawrence complained that

his rights were being violated and picked the dog up to leave. Woodruff asked him

for identification, which Lawrence again refused, stating it was a violation of his

rights.

          Skipper testified that when people threaten to abandon a dog outside the

shelter, the procedure is to write down the tag number of the person’s vehicle in the

event the dog is later found. As Lawrence was leaving the shelter with the dog,

Woodruff followed him to write down the tag number of Lawrence’s vehicle. As

Woodruff followed Lawrence, she observed an empty gun holster on his hip. She

asked Lawrence about the gun, and he told her that it was in his car. Woodruff asked

her assistant to call for back-up.

          Lawrence walked toward his car and called out to his girlfriend in the car:

“Get the video. This is going to be a good one.” Lawrence sat in the driver’s seat of

the car which was still running. Woodruff went to the rear of the vehicle to copy the

tag number, but Lawrence got out of his car and attempted to block her view of the

tag; she ultimately got the tag number. Woodruff also testified that she could not

communicate the tag number initially to dispatch because she could not get through

on the telephone. Woodruff called police dispatch to request her back-up. Lawrence

told Woodruff he was leaving, but she told Lawrence he could not leave without

showing her a driver’s license. Lawrence argued with Woodruff, stating that he did

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not have a drivers license or need one because she had not seen him driving and

further demanded that Woodruff tell him the statutory definition of “driving.”

Lawrence produced a piece of paper titled an “AFFIDAVIT OF IDENTITY.” The

document stated that it was “duly affirmed upon oath and full commercial liability”

and included Lawrence’s name, his “current post” and “Date of origin.” The

Affidavit purported to be proof of his description, picture, right thumb print, and

signature. Based on her training, Woodruff believed Lawrence to be a “Sovereign

Citizen.”

      Lawrence demanded that Woodruff return his identification paper. Woodruff

said she would first call police dispatch to request a warrant check for Lawrence.

Lawrence told Woodruff that she had “no right or authority” and repeatedly

demanded that Woodruff return his paper. Skipper brought Woodruff a portable

telephone, and Woodruff called to verify that there were no warrants for Lawrence.

After confirming that Lawrence had no outstanding warrants, Woodruff stayed on

the call with dispatch, and the exchange between Lawrence and Woodruff was

recorded. After Woodruff ran the tag for his vehicle, the tag came back registered

to a silver Lexus, which was the color and model of the car that Lawrence was in.

      The dashboard camera in Rhodes’s patrol car shows that he arrived at shelter

and parked his patrol car behind Lawrence’s car at 12:41:13 PM. The video shows

Woodruff on a telephone and holding papers behind and to the driver’s side of the

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silver Lexus, and Lawrence standing beside the open driver’s door of the car while

lighting a cigarette and holding a cell phone to record the incident. At 12:41:20 PM,

the video shows Woodruff hang up the phone and Lawrence begin to approach

Rhodes’s patrol car, holding a cell phone in his right hand recording the incident. At

12:41:24 PM, Rhodes comes into the left frame of the video, and as he points to the

silver Lexus he can be heard telling Lawrence, “Hey, don’t even start. Stand over

there with the car, and I’ll be with you in a second.” Lawrence backs up and stands

at the bumper of the silver Lexus at 12:41:33 PM. Woodruff begins to explain the

events to Rhodes. Less than ten seconds after backing up to the silver Lexus,

Lawrence again begins to walk toward Woodruff and Rhodes. Rhodes points at

Lawrence and says, “Did I tell you to stand over there? You need to stand by the car

where I tell you to or you’re going to jail now!” Lawrence can be heard in the

background arguing with Rhodes saying “Yes sir, I’m utilizing my First Amendment

right for free speech.” Rhodes responded, “You can stand by the car where I tell you

to or you can go to jail now.” Lawrence backed up but continued to argue with

Rhodes about “utilizing his rights,” and Rhodes responded that “You can utilize it

where I tell you to stand.” Lawrence responds “Ok, where’s that … can you tell me

where you … I’m not arguing with you sir, I’m trying to figure out the back side of

this.” Lawrence and Rhodes continued to speak over each other, and at 12:41:53




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PM in the video, Rhodes approaches Lawrence as he says, “Do you want to argue

with me more? Turn around. Turn around.”

      Rhodes and Woodruff both pinned Lawrence against the Silver Lexus as he

repeated “Oh, no no no no … Don’t touch me!” and resisted their efforts. Lawrence

waved the cellphone in his right hand away from the officers as he yelled for his

girlfriend to “get this … get this … look at this … look at this” and continued to

resist arrest as he shouted “I’m a peaceful man … stop! Get off me, get off me.”

Rhodes asks Lawrence, “Are you going to turn around for me?” and Lawrence yells

back, “No, I’m not!” The three continued to struggle, and Lawrence continued to

yell and demand that the officers stop as he protested that his arrest was an “unlawful

detainer.” After physically resisting arrest for over a minute, Lawrence breaks away

from the officers’ grasp at 12:43:12 PM on the video and begins to run around the

car fleeing from the officers. Rhodes deploys his Taser at Lawrence at 12:43:19 PM

on the video, but Lawrence, who was wearing a thick jacket, shows no signs that the

Taser had any effect on him. Rhodes continued to attempt to physically restrain

Lawrence, and Lawrence continued to physically resist while yelling, “Stop!”

repeatedly. Neither the video nor audio indicate that Lawrence ever stopped actively

resisting arrest, and he continued to wrestle with the officers. At 12:44:02 PM, the

video shows Woodruff attempting to use the Taser in drive stun mode as Rhodes

repeatedly tells Lawrence to “Turn around!” Four seconds later, Lawrence can be

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heard yelling, “Don’t do it! Stop!” as he reaches and grabs the Taser. Plaintiff admits

that “Woodruff held the Taser with her finger on the trigger” and that “Lawrence

grabbed Woodruff’s Taser.” (Doc. 43 at ¶¶ 26-27).1 The Taser can be heard briefly

firing, and then Skipper reached in and pulled Lawrence’s arm away from the scrum

while both he and Woodruff were holding the Taser. One second later, Woodruff

can be seen removing her pistol from the holster on her belt and discharging it by

Lawrence’s side. Woodruff shot Lawrence in the abdomen with her service weapon

while Lawrence continued to hold the Taser and struggle against Skipper and

Rhodes. Lawrence did not release his grasp on the Taser until after Woodruff

discharged her gun. Woodruff did not verbally warn Lawrence that she was going

to shoot him. Lawrence died as a result of the gunshot wound.

       At all material times, Defendant City of Dothan was the employer of

Defendants Benton, Summerlin, and Woodruff in the City of Dothan Police

Department. (Docs. 63-1; 63-5; 63-16).

       In December 2016, Plaintiff filed suit against Defendants. (Doc. 1). In a two-

count amended complaint, Plaintiff sued the City of Dothan, Greg Benton, Chris

Summerlin, and Adrienne Woodruff for alleged violation of Lawrence’s Fourth


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  Plaintiff further alleges that during this altercation in which Rhodes and Woodruff were trying to
subdue Lawrence, “Officer Skipper grabbed Lawrence’s arm and pulled it toward her (with
Woodruff still holding the Taser and Lawrence holding it as well but not by the grip).” Id. at ¶ 28.
However, after thoroughly and repeatedly viewing all available video of the incident that has been
submitted as exhibits in support of the parties’ respective motions, this Court finds that there is
insufficient clarity in any view to determine which part of the Taser Lawrence was grasping.
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Amendment rights pursuant to 42 U.S.C. § 1983. (Doc. 28). In Count II, Plaintiff

alleged Alabama state law claims of assault and battery against the City, Summerlin,

and Woodruff. Id. Plaintiff has moved for partial summary judgment on the

excessive force claims against Woodruff, arguing that no reasonable jury could find

Woodruff’s decision to use deadly force to be a reasonable one and that Woodruff

had fair warning that her use of deadly force was unconstitutional. (Doc. 43).

Defendants filed a motion for summary judgment against Plaintiff on the basis that

there was no constitutional violation against Lawrence, and even if there was,

Defendants are entitled to qualified immunity for their actions. (Doc. 63). On the

state law claims of assault and battery/excessive force in Count II, Defendants assert

that officers may lawfully use the degree of force reasonably necessary to defend

themselves, and in any event, Woodruff would be entitled to peace officer immunity

under Alabama law. Id.

IV.    DISCUSSION

       A. Defendants City of Dothan, Greg Benton, and Chris Summerlin

       Plaintiff did “not oppose the dismissal of Benton, Summerlin, and the City of

Dothan” in his briefs to this Court (Doc. 70 at 11) and did not object to the Magistrate

Judge’s recommendation to grant summary judgment in favor of those parties. (Doc.

78). Accordingly, the recommendation is adopted in part to the extent that the

Magistrate Judge recommended that “Defendants’ motion for summary judgment

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(Doc. 63) is due to be granted in part as to Defendants Greg Benton, Chris

Summerlin, and the City of Dothan.” (Doc. 73 at 11).

      B. Defendant Woodruff

             1. Count I – Excessive Force

      Plaintiff’s first claim is that “Woodruff, acting under color of law within the

meaning of 42 U.S.C. § 1983, used deadly force on Lawrence, thereby depriving

Lawrence of his rights under the Fourth and Fourteenth Amendments to the

Constitution of the United States in violation of 42 U.S.C. § 1983. Specifically, she

violated Lawrence’s right to be free from excessive force.” (Doc. 28 at ¶ 65).

      “[T]he question we ask is whether, under [the plaintiff's] version of the facts,

[the officer] behaved reasonably in the light of the circumstances before him.”

Galvez v. Bruce, 552 F.3d 1238, 1243 (11th Cir. 2008)(citation and internal

quotation marks omitted). The excessive-force “area is one in which the result

depends very much on the facts of each case.” Brosseau v. Haugen, 543 U.S. 194,

201, 125 S. Ct. 596, 600, 160 L. Ed. 2d 583 (2004). Excessive-force claims are fact-

specific; whether the force an officer uses is reasonable “requires careful attention

to the facts and circumstances of each particular case.” Graham v. Connor, 490 U.S.

386, 396, 109 S.Ct. 1865, 1872, 104 L.Ed. 2d 443 (1989).

       “The calculus of reasonableness must embody allowance for the fact
      that police officers are often forced to make split-second judgments—
      in circumstances that are tense, uncertain, and rapidly evolving—about
      the amount of force that is necessary in a particular situation.” Graham,
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      490 U.S. at 396–97, 109 S.Ct. 1865. We make this inquiry without
      regard to the officer's underlying intent or motivation. Id. at 397, 109
      S.Ct. 1865.

Wate v. Kubler, 839 F.3d 1012, 1019–20 (11th Cir. 2016).

      Courts must examine “the fact pattern from the perspective of a
      reasonable officer on the scene with knowledge of the attendant
      circumstances and facts, and balance the risk of bodily [or
      psychological] harm to the suspect against the gravity of the threat the
      officer sought to eliminate.” McCullough v. Antolini, 559 F.3d 1201,
      1206 (11th Cir. 2009) (citing Scott v. Harris, 550 U.S. 372, 383, 127
      S.Ct. 1769, 1778, 167 L.Ed.2d 686 (2007)).

Stephens v. DeGiovanni, 852 F.3d 1298, 1318 (11th Cir. 2017). The Eleventh

Circuit has further held that

      “The Fourth Amendment's freedom from unreasonable searches and
      seizures encompasses the plain right to be free from the use of excessive
      force in the course of an arrest.” Lee, 284 F.3d at 1197 (emphasis
      added). The Graham objective-reasonableness standard governs
      judicial determination of claims of official use of excessive force. “[T]o
      determine whether the amount of force used by a police officer was
      proper, a court must ask whether a reasonable officer would believe that
      this level of force is necessary in the situation at hand.” Id. (citation and
      internal quotation marks omitted). In deciding whether an officer is
      entitled to summary judgment based on qualified immunity, the
      question of whether the force used by the officer in the course of an
      arrest is excessive is a “‘pure question of law,’” decided by the court.
      Myers v. Bowman, 713 F.3d 1319, 1328 (11th Cir. 2013) (quoting Scott,
      550 U.S. at 381 n.8, 127 S.Ct. at 1776 n.8).

             To determine “whether the force used to effect a particular
      seizure is ‘reasonable,’ ” the Graham Court noted three nonexclusive
      factors for evaluating an officer's necessity for using force against an
      arrestee's Fourth Amendment rights: (1) “the severity of the crime at
      issue,” (2) “whether the suspect poses an immediate threat to the safety
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      of the officers or others,” and (3) “whether [the suspect] is actively
      resisting arrest or attempting to evade arrest by flight.”

Stephens, 852 F.3d at 1321 (emphasis in original).

                   a. Probable Cause

      Plaintiff initially conceded in his motion for summary judgment that

“[Lawrence] at most had committed a minor crime and was resisting an arrest he

believed was unlawful.” (Doc. 43 at 23). Plaintiff confirmed this position in his

reply brief in support of his motion: “Defendant spends most of her brief arguing

that Woodruff and Rhodes were justified in detaining and arresting Lawrence and

justified in using the Taser on Lawrence, matters not disputed by plaintiff for the

purposes of his motion.” (Doc. 52 at 1). Woodruff argues that her “request to see

Lawrence’s driver’s license was lawful because he had just threatened to commit a

crime, then sat behind the wheel of a car to drive away. Furthermore, probable cause

existed to support his arrest for obstructing government operations, refusing a lawful

order to present a driver’s license, refusing a lawful order to back away, resisting

arrest, disorderly conduct, harassment of a police officer, menacing, attempted

assault of a police officer with a dangerous instrument and taking a police officer’s

weapon.” (Doc. 64 at 28). However, Plaintiff changed course in responding to

Defendants’ motion for summary judgment, newly arguing that “Woodruff’s

admonishment to Lawrence not to dump the dog and writing down his tag should

have been the limit of her assertion of authority.” (Doc. 70 at 36).
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      Plaintiff appears to argue that Woodruff lacked reasonable suspicion to detain

Lawrence after he exited the shelter. Plaintiff does not dispute that Lawrence

threatened “to abandon the dog down the road” (Doc. 70 at 36) or that doing so

would have been a criminal offense. See § 13A-11-14(a)(2), Ala. Code 1975 (“A

person commits the crime of cruelty to animals if, except at otherwise authorized by

law, he or she recklessly or with criminal negligence … subjects any animal in his

or her custody to cruel neglect....”). Moreover, Plaintiff acknowledges that under

Alabama law, Woodruff, as a law enforcement officer, was authorized to “stop any

person abroad in a public place whom [s]he reasonably suspects is committing, has

committed or is about to commit a felony or other public offense and may demand

of him his name, address and an explanation of his actions.” § 15-5-30. Plaintiff

argues, however, that “[a] threat to commit a crime in the future is far from being

caught “about to commit” a crime.” (Doc. 70 at 36).

      This Court must view “the fact pattern from the perspective of a reasonable

officer on the scene with knowledge of the attendant circumstances and facts….”

McCullough v. Antolini, 559 F.3d 1201, 1206 (11th Cir. 2009). In this case,

Lawrence attempted to leave the dog with the shelter but refused to cooperate with

the most basic of protocols for doing so and left with the dog while threatening to

abandon the dog at the end of the road. In the cellphone video recorded by

Lawrence’s girlfriend, his girlfriend can be heard saying, “Just take the damned dog

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back with us.” Lawrence can be seen and heard replying to her “Well, that’s what I

said; I’ll just take him down the damn road and drop him off.” The question is not,

as Plaintiff suggests, whether “persons regularly make such statements” or whether

“no one has ever been found to have dumped a dog after leaving the shelter,” (Doc.

70 at 36) or even whether “Lawrence’s threat to dump the dog at some point in the

future was … a basis to arrest him,” (Doc. 73 at 14), but whether a reasonable officer

having witnessed Lawrence’s demeanor, behavior, and threats had probable cause

to detain Lawrence and at the minimum write down the tag number on his car, which

she did. It would be far less reasonable for an officer to suspect that Lawrence would

make a return trip to the same shelter from another county at some distant point in

the future for the sole purpose of abandoning an animal to avoid producing

identification. There is no evidence before the Court to suggest that Woodruff or

Rhodes initiated the arrest of Lawrence due to his threat to abandon the dog.

      Moreover, in the cellphone video recorded by Lawrence’s girlfriend,

Lawrence exited the silver Lexus and said to Woodruff, “That’s private property.

You have no right to copy down…” and then stood between her and the rear of the

vehicle in an attempt to block her view of the license plate on the car. On that same

video, Lawrence argued with Woodruff, repeatedly asserting that she was interfering

with his “right to travel,” that he did not need a driver’s license, and that she had not

seen him driving. However, he was clearly in the driver’s seat of the silver Lexus

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with the key in the ignition demanding return of his identification paperwork so he

could “leave.” The situation was not simply, as Plaintiff has suggested, that once

Woodruff had written down the license plate number from the silver Lexus that

probable cause ceased to exist.         On the contrary, the video evidence is

incontrovertible that Lawrence was the only person seen in the driver’s seat of the

silver Lexus, the key was in the ignition, three small children were seated in the back

of the car, Lawrence was increasingly agitated and argumentative toward Woodruff,

and he was clearly stating that he intended to “leave” and “travel” and refused to

show her a driver’s license.

      Plaintiff argues that Woodruff’s demand for Lawrence to produce his driver’s

license “was beyond her authority” (Doc. 70 at 36) and cites United States v. Brown,

731 F.2d 1491, 1494 (11th Cir.), on reh'g, 743 F.2d 1505 (11th Cir. 1984), for the

proposition “that persons can lawfully refuse to provide a driver’s license in this

situation.” (Doc. 70 at 37-38). However, the relevant holding in Brown was that a

Georgia statute prohibited

      only actual lies in order to avoid an unconstitutional construction. The
      defendants' refusal to furnish identification—which they were entitled
      to do if indeed this was a Terry stop, as the government must contend—
      may have created suspicion that they had actually used false names, but
      falls far short of probable cause.




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Brown, 731 F.2d 1494. Brown did not involve a traffic stop, and the opinion does

not reference or involve driver’s licenses.2

       Alabama law defines a “driver” as “[e]very person who drives or is in actual

physical control of a vehicle.” § 32-1-1.1(14), Ala. Code, 1975. Alabama law

provides that:

       Every licensee shall have his or her license in his or her immediate
       possession at all times when driving a motor vehicle and shall display
       the same, upon demand of a judge of any court, a peace officer, or a
       state trooper. However, no person charged with violating this section
       shall be convicted if he or she produces in court or the office of the
       arresting officer a driver's license theretofore issued to him or her and
       valid at the time of his or her arrest.

Section 32-6-9(a), Ala. Code, 1975. Concerning the production of a license upon

demand, the Alabama Court of Criminal Appeals has held:

              Observing a violation of the state traffic and vehicle safety
       regulations, the State Trooper had a statutory right to request and
       inspect the driver's operating license. See Delaware v. Prouse, 440 U.S.
       648, 99 S.Ct. 1391, 1398, 59 L.Ed.2d 660 (1979). The trooper had a
       right to “request” or “demand” the defendant's driver's license. The
       driver had a statutory duty to “display the same.” Alabama Code 1975,
       Section 32-6-9.




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 In fact, Brown only mentions automobiles once, and that is used in contrast to the search of an
actual person. “Consensual access to another's body as a place of concealment is so unlikely to be
casual, unlike access to a car or house, that a more particularized examination of the defendant's
dominion and efforts to guarantee privacy, of the kind undertaken in cases involving cars or
houses, would not be helpful.” Brown, 731 F.2d at 1496.

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Sly v. State, 387 So. 2d 913, 916 (Ala. Crim. App.), writ denied sub nom. Ex parte

Sly, 387 So. 2d 917 (Ala. 1980). As to probable cause “if the person was not

observed actually driving,” the Alabama Court of Criminal Appeals has stated “that

circumstantial evidence may be used to show that the defendant was driving.”

McLaney v. City of Montgomery, 570 So. 2d 881, 882 (Ala. 1990).

      It is beyond dispute that Lawrence was “in actual physical control of a

vehicle,” and therefore met the statutory definition of a driver. Moreover, the cell

phone video clearly indicates that Lawrence told Woodruff no fewer than four times

that he was leaving while she was attempting to verify his identity and before she

appears in the video behind the silver Lexus copying the license plate number.

      During his protestations, Lawrence leaned out of the window of the silver

Lexus and said to Woodruff: “Ok, you’re enforcing a statutory code. Do you know

the legal definition of that statutory code? Do you know what the definition of

‘driving’ is under Black’s Law Dictionary which is the statutory writing for that

code?” As Woodruff walked behind the silver Lexus, Lawrence got out of the car

and stated, “This officer is withholding us. She is blocking our vehicle from

leaving.” Based on the video evidence in this case, it is clear that while Woodruff

was lawfully detaining Lawrence for the purpose of copying the license plate

information from the silver Lexus, Lawrence repeatedly protested that he was

leaving and had no intent of producing a driver’s license. Lawrence’s agitated,

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obstructive behavior regarding whether he had a driver’s license and whether

Woodruff knew the legal definition of “driving” gave rise to probable cause for

Woodruff to reasonably suspect that Lawrence did not have a driver’s license and

was about to drive without a license. See § 15-5-30. Accordingly, Woodruff had

statutory authority to demand that Lawrence produce a driver’s license, and he had

a statutory duty to comply. See § 32-6-9(a).

                   b. The Arrest

      Plaintiff argues that   “Lawrence’s   arrest was a direct result of Woodruff’s

unlawful detention. Of course, because the detention was unlawful, Lawrence’s

arrest was also unlawful.” (Doc. 70 at 40). The Eleventh Circuit has held:

             Plainly, an arrest without probable cause violates the right to be
      free from an unreasonable search under the Fourth Amendment. See
      Redd v. City of Enterprise, 140 F.3d 1378, 1382 (11th Cir. 1998) (“[A]n
      arrest made without probable cause violates the Fourth Amendment.”).
      Under federal law, probable cause to arrest exists “when an arrest is
      ‘objectively reasonable based on the totality of the circumstances.’”
      McCormick v. City of Fort Lauderdale, 333 F.3d 1234, 1243 (11th Cir.
      2003) (quoting Ferraro, 284 F.3d at 1195). “This standard is met when
      the facts and circumstances within the officer's knowledge, of which he
      or she has reasonably trustworthy information, would cause a prudent
      person to believe, under the circumstances shown, that the suspect has
      committed, is committing, or is about to commit an offense.” Id.
      (internal citation and quotation marks omitted). “Although probable
      cause requires more than suspicion, it ‘does not require convincing
      proof,’ and ‘need not reach the [same] standard of conclusiveness and
      probability as the facts necessary to support a conviction.’” Ferraro,
      284 F.3d at 1195 (internal citations omitted).

Durruthy v. Pastor, 351 F.3d 1080, 1088 (11th Cir. 2003)(emphasis in original).

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       Upon Lawrence’s agitated, confrontational refusal to produce a driver’s

license, Woodruff had reasonably trustworthy information that would lead a prudent

officer to believe that Lawrence was about to commit an offense, i.e., driving without

a license. Accordingly, she was authorized to execute a lawful arrest of Lawrence.

The United States Supreme Court as well as the Alabama Court of Criminal Appeals

have allowed the collective knowledge of the investigating officers to be imputed to

each participating officer. See United States v. Hensley, 469 U.S. 221, 232, 105 S.Ct.

675, 83 L.Ed.2d 604 (1985); Shute v. State, 469 So. 2d 670, 673 (Ala. Crim. App.

1984)(“The knowledge of all the officers involved in a police situation may be

evaluated collectively in assessing whether that knowledge constituted probable

cause as is constitutionally required.”). Accordingly, Woodruff’s knowledge of

Lawrence’s refusal to produce a driver’s license upon demand while he was in actual

physical control of a vehicle may also be imputed to Rhodes in his subsequent arrest

of Lawrence.3

                     b. Deadly Force During the Arrest

            In the context of deadly force, the Supreme Court has set out
       examples of factors that justify the use of such force:

              “Where the officer has probable cause to believe that the
              suspect poses a threat of serious physical harm, either to

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  Additionally, Lawrence’s refusal to remain at a safe distance by his car while Rhodes and
Woodruff spoke after Rhodes arrived on the scene would have been probable cause for an arrest
based on violation of Alabama’s statute prohibiting obstruction of governmental operations. §
13A-10-2, Ala. Code, 1975.
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            the officer or to others, it is not constitutionally
            unreasonable to prevent escape by using deadly force.
            Thus, if the suspect threatens the officer with a weapon ...
            deadly force may be used if necessary to prevent escape,
            and if, where feasible, some warning has been given.”

      Tennessee v. Garner, 471 U.S. 1, 105 S.Ct. 1694, 1701, 85 L.Ed. 2d 1
      (1985). Garner says something about deadly force but not everything,
      especially when facts vastly different from Garner are presented. The
      Supreme Court has cautioned that “Garner did not establish a magical
      on/off switch that triggers rigid preconditions whenever an officer's
      actions constitute ‘deadly force.’ ” Scott v. Harris, 550 U.S. 372, 127
      S.Ct. 1769, 1777, 167 L.Ed. 2d 686 (2007).

             Because “[t]he test of reasonableness under the Fourth
      Amendment is not capable of precise definition or mechanical
      application,” Graham, 109 S.Ct. at 1872 (quoting Bell v. Wolfish, 441
      U.S. 520, 99 S.Ct. 1861, 60 L.Ed. 2d 447 (1979)) (alteration in
      original), we must “slosh our way through the factbound morass of
      ‘reasonableness.’ ” Scott, 127 S.Ct. at 1778. Therefore, determining
      whether “the use of a particular type of force in a particular situation”
      is “reasonable” in the constitutional sense requires a court to “balance
      the nature and quality of the intrusion on the individual's Fourth
      Amendment interests against the importance of the governmental
      interests alleged to justify the intrusion.” Scott, 127 S.Ct. at 1777, 1778
      (quoting United States v. Place, 462 U.S. 696, 103 S.Ct. 2637, 2642,
      77 L.Ed. 2d 110 (1983)).

             In examining whether an officer's use of deadly force is
      reasonable, we recognize that “police officers are often forced to make
      split-second judgments—in circumstances that are tense, uncertain, and
      rapidly evolving—about the amount of force that is necessary in a
      particular situation.” Graham, 109 S.Ct. at 1872. So “[w]e are loath to
      second-guess the decisions made by police officers in the field.”
      Vaughan v. Cox, 343 F.3d 1323, 1331 (11th Cir.2003).

Long v. Slaton, 508 F.3d 576, 580–81 (11th Cir. 2007) (footnote omitted).




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      Turning to the undisputed facts and video evidence in this case, Lawrence was

consistently confrontational, uncooperative, and at times belligerent during his

encounter with Woodruff and Rhodes. Aside from producing a homemade affidavit

of identity and admitting that he was from Geneva County, Lawrence was

antagonistic or actively resistant to every request and command Woodruff and

Rhodes directed to him. Lawrence did not merely resist arrest. He actively resisted

despite three officers simultaneously attempting to apprehend him. The deployment

of a Taser in both prong and drive stun modes had no apparent effect on Lawrence.

Lawrence continued to physically struggle, escaped from Rhodes, and led officers

on a chase around the silver Lexus in which his girlfriend and three small children

were present. He continued his struggle despite the threat his actions posed to the

arresting officers and to his own loved ones, who can be heard throughout the

struggle.

      Plaintiff does not specifically argue that the use of the Taser against Lawrence

was excessive force, but Plaintiff argues that the arrest was unlawful and “he was

legally entitled to [resist]…” (Doc. 70 at 49). As to Lawrence’s behavior leading up

to Rhodes’s use of the Taser against him, the Eleventh Circuit has found the use of

a Taser reasonable under closely similar circumstances. In Hoyt v. Cooks, 672 F.3d

972, 979 (11th Cir. 2012), the decedent “resisted during the entire time that [two

officers] tried to handcuff him. He spread his arms apart to prevent being handcuffed,

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and he rolled around to keep his arms from being pulled behind his back. Even after

repeatedly using their Tasers, [the two officers] had considerable difficulty in

effecting the arrest.” The Eleventh Circuit held that the two defendant officers

“could not wait indefinitely for Allen to stop resisting or for his strange behavior to

subside. Allen could not be safely transported until he was restrained. We cannot

conclude that clearly established law prevented [the officers] from using their Tasers

in the manner used here. Other alternatives, e.g. brute physical force, also presented

dangers both to Allen and the officers.” Hoyt, 672 F.3d at 980. Similarly, Lawrence

can be clearly seen on video resisting arrest, stretching out his arms, shouting at the

officers, attempting to escape, running away, and showing no visible effect from the

Taser bring deployed against him. Brute force and a nonlethal Taser showed no

signs of subduing Lawrence or dissuading him from continuing this struggle inches

from his small children. Woodruff and Rhodes could not wait indefinitely for

Lawrence to stop resisting arrest or merely hope that Lawrence would tire out before

they did. See Callwood v. Jones, 727 F. App'x 552, 560–61 (11th Cir. 2018), cert.

denied, No. 17-1569, 2018 WL 2303441 (U.S. Oct. 1, 2018)(“Throughout the

incident, Illidge resisted all of the officers’ attempts to subdue him and ignored their

repeated requests to calm down. A reasonable officer could have believed that Illidge

continued to resist arrest and that he posed a danger to the officers and himself by

resisting.”).

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      The Eleventh Circuit has recognized that when dealing with a traffic stop in

which the arrestee failed to comply with documentary requests, “acted in a

confrontational and agitated manner,” and repeatedly refused to comply with

reasonable instructions, even a simple “verbal arrest command accompanied by

attempted physical handcuffing” can escalate “a tense and difficult situation into a

serious physical struggle in which either [officer or arrestee] would be seriously

hurt.” Draper v. Reynolds, 369 F.3d 1270, 1276-78 (11th Cir. 2004).              Even

construing the evidence in this case in the light most favorable to Plaintiff, it is

beyond dispute that Lawrence refused to comply with requests, was confrontational,

agitated, resistant to verbal commands, and that this tense and difficult situation

devolved into a serious physical struggle specifically because Lawrence resisted an

attempted physical handcuffing.

      Plaintiff argues that “Lawrence was not a threat of serious physical harm to

the officers at the time he was shot, and no warning was given despite an ample

opportunity to give one.” (Doc. 70 at 49). Plaintiff’s argument that “Lawrence was

not a threat of serious physical harm to the officers at the time he was shot” fails on

several grounds. Plaintiff’s argument assumes that “Lawrence [was trying] to keep

Woodruff from hurting him with the Taser,” but that Lawrence being in possession

of the Taser “was not a threat of serious physical harm to the officers…” (Doc. 70

at 49). How the Taser could be so seriously painful to Lawrence that he would risk

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unlawfully taking the weapon away from a law enforcement officer, yet that same

Taser be “not a threat” to the officers with whom he was wrestling is simply

untenable. Plaintiff argues that “Lawrence grabbed the Taser by the body as an act

of self protection, that he never possessed the Taser, and that he was not even close

to having the ability to use the Taser as a weapon.” (Doc. 70 at 45). In light of the

video evidence from Rhodes’s patrol vehicle camera, Plaintiff’s argument is

speculative at best and illogical at worst, i.e. that Lawrence could somehow “grab”

the Taser yet not “possess” it. The video is not clear enough to determine what

specific part of the Taser was in Lawrence’s hand, but it is clear that he possessed

the Taser and continued to possess it until Woodruff shot him, at which point he can

be seen dropping the Taser. By Plaintiff’s own argument, it is impossible that

anyone else had possession of the Taser when he was shot, because Woodruff had

reached for her gun, Skipper was holding “Lawrence’s arm out from his body,” and

Rhodes was using his body to restrain Lawrence. (Doc. 70 at 45-46). Moreover, the

standard is not whether Lawrence “was not a threat of serious physical harm to the

officers…” (Doc. 70 at 49), but whether Woodruff had “probable cause to believe

that the suspect poses a threat of serious physical harm, either to the officer or to

others…” Smith, 834 F.3d at 1295. It is not Lawrence’s subjective intent imposed

by hindsight, but the officer’s objective probable cause to believe a threat of serious

physical harm is present in the split-second situation that guides the Court’s decision.

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      Whether Lawrence was holding the Taser by the “body” or had the ability to

pull the trigger is not discernible in the video evidence, nor is it the standard by

which deadly force cases are analyzed. “Although we view the facts in the light

most favorable to the non-moving party,” the court must view that evidence as “it

would appear to a reasonable officer at the scene.” Zivojinovich v. Barner, 525 F.3d

1059, 1073 (11th Cir. 2008). “In analyzing whether excessive force was used, courts

must look at the totality of the circumstances: not just a small slice of the acts that

happened at the tail of the story.” Garrett v. Athens-Clarke Cty., Ga., 378 F.3d 1274,

1280 (11th Cir. 2004). “And an officer need not wait until he is attacked physically

before determining reasonably that he is in imminent danger of serious injury. Cf.

Long v. Slaton, 508 F.3d 576, 583 (11th Cir. 2007) (concluding the use of deadly

force was reasonable, even though other less-lethal means of preventing the suspect's

escape may have existed, because ‘the police need not have taken that chance and

hoped for the best.’).” Wilson v. Miller, 650 F. App'x 676, 680 (11th Cir. 2016).

      The Eleventh Circuit recently affirmed summary judgment in favor of an

officer who shot a suspect who “charged at [the officer] while holding a stick that

was five and one-half feet long,” even though the suspect had not raised or swung

the stick because “‘[t]he law does not require officers in a tense and dangerous

situation to wait until the moment a suspect uses a deadly weapon to act to stop the

suspect.’” Wilson v. Parker, No. 17-15294, 2018 WL 3954222, at *3 (11th Cir. Aug.

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17, 2018)(quoting Jean-Baptiste v. Gutierrez, 627 F.3d 816, 821 (11th Cir. 2010)

(alteration omitted)(quoting in turn Long v. Slaton, 508 F.3d 576, 581 (11th Cir.

2007) ). Lawrence had already shown himself willing and powerful enough to

escape from at least two officers attempting to effect an arrest. The law did not

require Woodruff to “hope for the best” after Lawrence took possession of the Taser

or even that she hope that Skipper would be able to restrain Lawrence’s arm after

having seen him escape from Rhodes moments earlier. See also Wells for Chambers

v. Talton, 695 F. App'x 439, 445 n.2 (11th Cir. 2017)(“The fact that [the police

officer] was later found to be mistaken about [the suspect] having the gun as he ran

away does not defeat qualified immunity. See Penley [v. Eslinger], 605 F.3d [843,]

854[, (11th Cir. 2010)] (finding that officer's use of deadly force was reasonable

where suspect held a toy gun modified to look like a real gun).”).

      As to Woodruff’s failure to give a warning to Lawrence prior to the use of

deadly force, the Eleventh Circuit has stated that

      The mere failure to give a warning, however, does not preclude
      summary judgment where the facts otherwise indicate that the officer's
      use of force was reasonable. See Penley v. Eslinger, 605 F.3d 843, 854
      n.6 (11th Cir. 2010); see also Scott v. Harris, 550 U.S. 372, 382, 127
      S.Ct. 1769, 1777, 167 L.Ed.2d 686 (2007) (“Garner did not establish a
      magical on/off switch that triggers rigid preconditions whenever an
      officer's actions constitute ‘deadly force.’”).

Talton, 695 F. App'x at 444. Video evidence from Rhodes’s patrol vehicle camera

further shows several instances in which Woodruff approached Lawrence to apply

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the Taser in drive stun mode, and Lawrence can be seen reaching toward the Taser.

Even in the less intense “drive stun” mode, the Taser is a weapon capable of

inflicting sufficient pain to impose compliance over another during a struggle. In

the moments that Lawrence reached for and ultimately gained possession of the

Taser from Woodruff, any reasonable officer could believe that Lawrence intended

to use the Taser against officers to cause them severe pain in order to effect an

escape. Specifically in this case, a reasonable office would know that after a

prolonged and physical resistance to arrest and continuous efforts to escape,

Lawrence continued to struggle for over two minutes despite three persons being

involved in an increasingly futile effort to restrain him. Lawrence was seemingly

unaffected by commands and Taser shocks, and had somehow managed to take the

Taser away from one of the arresting officers, all within feet and even inches from

the arrestee’s girlfriend and three small children. Although the offense that triggered

the arrest was relatively minor, Lawrence’s belligerent, defiant behavior needlessly

escalated the severity of the encounter. The Eleventh Circuit has held that “a person

acting unpredictably could present an increased threat to others” such that pausing

to give a warning that an officer intends to use deadly force is not feasible. Wilson,

2018 WL 3954222, at *3. Wrestling the Taser away from Woodruff presented an

immediate threat to the arresting officers, obviating the opportunity for Woodruff to

issue a warning prior to using deadly force.         Lawrence had shown himself

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impervious to verbal and physical restraint and showed no signs of being subdued

by use of the Taser. Having armed himself with the Taser, Lawrence presented an

immediate threat to all the officers such that it was reasonable for Woodruff to use

deadly force without further warning, all the more so in the face of Lawrence’s

demonstrated imperviousness to all verbal commands, physical restraint, or repeated

application of the Taser.

      Lawrence actively resisted arrest and attempted to escape and evade arrest

throughout the encounter. Lawrence’s shooting death is a tragedy. However, it was

not objectively unreasonable under the Fourth Amendment. See Martinez v. City of

Pembroke Pines, 648 F. App'x 888, 893 (11th Cir. 2016)(“Plaintiff was unresponsive

to all commands and gestures, impervious to the taser, and otherwise unable to be

restrained.”). “[T]he question is whether the officers' actions are ‘objectively

reasonable’ in light of the facts and circumstances confronting them, without regard

to their underlying intent or motivation.” Graham, 490 U.S. at 397. Because

Woodruff was faced with the split-second decision regarding the force necessary to

prevent a physically resistant arrestee from turning a weapon on the officers

attempting to secure his arrest, her actions were not objectively unreasonable.

                   c. Qualified Immunity

      Even if Woodruff’s use of deadly force was excessive under the Fourth

Amendment, she is alternatively entitled to qualified immunity because she violated

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no clearly established right. See Long, 508 F.3d at 583-4. Qualified immunity

protects government officials from suit if they are “performing discretionary

functions” and “their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known.” Harlow v.

Fitzgerald, 457 U.S. 800, 818, 102 S.Ct. 2727, 73 L.Ed.2d 396 (1982). Qualified

immunity is an entitlement not to stand trial or face the other burdens of litigation.

Mitchell v. Forsyth, 472 U.S. 511, 525–26, 105 S. Ct. 2806, 2815, 86 L. Ed. 2d 411

(1985). It balances the need to hold the government accountable with the need to

protect officers from the distractions of litigation. Pearson v. Callahan, 555 U.S.

223, 231, 129 S.Ct. 808, 172 L.Ed.2d 565 (2009).

      “We have said many times that if case law, in factual terms, has not
      staked out a bright line, qualified immunity almost always protects the
      defendant.” Priester v. City of Riviera Beach, 208 F.3d 919, 926 (11th
      Cir. 2000) (quotations omitted). In determining whether a right is
      clearly established, we look to the precedent of the Supreme Court of
      the United States, of this Court, and of the relevant state's highest court.
      McClish v. Nugent, 483 F.3d 1231, 1237 (11th Cir. 2007).

Hoyt, 672 F.3d at 977.

             In resolving questions of qualified immunity at summary
      judgment, courts engage in a two-pronged inquiry. The first asks
      whether the facts, “[t]aken in the light most favorable to the party
      asserting the injury, ... show the officer's conduct violated a [federal]
      right [.]” Saucier v. Katz, 533 U.S. 194, 201, 121 S.Ct. 2151, 150
      L.Ed.2d 272 (2001). When a plaintiff alleges excessive force during an
      investigation or arrest, the federal right at issue is the Fourth
      Amendment right against unreasonable seizures. Graham v. Connor,
      490 U.S. 386, 394, 109 S.Ct. 1865, 104 L.Ed.2d 443 (1989). The
      inquiry into whether this right was violated requires a balancing of “‘the
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      nature and quality of the intrusion on the individual's Fourth
      Amendment interests against the importance of the governmental
      interests alleged to justify the intrusion.’” Tennessee v. Garner, 471
      U.S. 1, 8, 105 S.Ct. 1694, 85 L.Ed.2d 1 (1985); see Graham, supra, at
      396, 109 S.Ct. 1865.

             The second prong of the qualified-immunity analysis asks
      whether the right in question was “clearly established” at the time of
      the violation. Hope v. Pelzer, 536 U.S. 730, 739, 122 S.Ct. 2508, 153
      L.Ed.2d 666 (2002). Governmental actors are “shielded from liability
      for civil damages if their actions did not violate ‘clearly established
      statutory or constitutional rights of which a reasonable person would
      have known.’ ” Ibid. “[T]he salient question ... is whether the state of
      the law” at the time of an incident provided “fair warning” to the
      defendants “that their alleged [conduct] was unconstitutional.” Id., at
      741, 122 S.Ct. 2508.

Tolan v. Cotton, 572 U.S. 650, 134 S. Ct. 1861, 1865–66, 188 L. Ed. 2d 895

(2014)(footnote omitted).

      Plaintiff does not dispute that Woodruff was performing a discretionary

function when she encountered Lawrence. (Doc. 43 at 21). Thus, the burden is on

Plaintiff to prove that Woodruff is not entitled to qualified immunity. Dalrymple v.

Reno, 334 F.3d 991, 995 (11th Cir. 2003) (“Once the government official has

established that she was acting within her discretionary authority, the burden shifts

to the plaintiffs to show that qualified immunity is not appropriate”).

      “The salient question” is whether the law gave Defendant “fair
      warning” that his conduct was unconstitutional. Hope v. Pelzer, 536
      U.S. 730, 740–41, 122 S.Ct. 2508, 153 L.Ed.2d 666 (2002). There are
      three ways for Plaintiff to prove that a right is clearly established: “(1)
      case law with indistinguishable facts clearly establishing the
      constitutional right; (2) a broad statement of principle within the
      Constitution, statute, or case law that clearly establishes a constitutional
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      right; or (3) conduct so egregious that a constitutional right was clearly
      violated, even in the total absence of case law.” Lewis v. City of West
      Palm Beach, 561 F.3d 1288, 1291–92 (11th Cir. 2009) (citations
      omitted).

Mighty v. Miami-Dade Cty., 728 F. App'x 974, 978 (11th Cir. 2018). Plaintiff does

not clearly designate which of the three methods he intends to invoke to establish

that Woodruff violated a clearly established constitutional right enjoyed by

Lawrence. However, Plaintiff relies on two cases for the proposition that Woodruff

was on notice: Tennessee v. Garner, 471 U.S. 1, 11–12, 105 S. Ct. 1694, 1701, 85

L. Ed. 2d 1 (1985)( “if the suspect threatens the officer with a weapon or there is

probable cause to believe that he has committed a crime involving the infliction or

threatened infliction of serious physical harm, deadly force may be used if necessary

to prevent escape, and if, where feasible, some warning has been given.”); and

Mercado v. City of Orlando, 407 F.3d 1152, 1159–60 (11th Cir. 2005) (“Mercado,

however, relies on the principle that deadly force cannot be employed in a situation

that requires less-than-lethal force.”). Specifically, Plaintiff argues that “Garner

makes clear that even fleeing felons have a right not to be seized by deadly force and

that deadly force is only intended to be used to stop dangerous persons who refuse

to submit to arrest. Certainly, Lawrence’s rights are greater than such persons.”

(Doc. 43 at 20).

      In Mercado, the Eleventh Circuit held:



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                  Officer Padilla should not have needed case law to know that by
         intentionally shooting Mercado in the head, he was violating Mercado's
         Fourth Amendment rights. When the officers entered the apartment,
         they found Mercado crying on the floor of his kitchen with a loose cord
         around his neck and a kitchen knife placed up to, but not poking into,
         his chest. From a distance of about six feet away, Padilla twice shouted
         for Mercado to drop his knife, and then discharged the Sage Launcher,
         [ 4] hitting Mercado in the head from short range. Assuming that Padilla
         was aiming at Mercado's head intentionally, his use of force was clearly
         excessive.

Mercado, 407 F.3d at 1160–61. The facts of Mercado are materially distinguishable

from this case. Mercado was not physically struggling with officers, resisting arrest,

or attempting to take control of a weapon being held by a law enforcement officer.

Further, no broad statement of principle from Mercado is readily applicable to this

case, specifically because that holding was based on the third method of determining

“fair warning” of a constitutional violation:

         this is one of the cases that lie “so obviously at the very core of what
         the Fourth Amendment prohibits that the unlawfulness of the conduct
         was readily apparent to the official, notwithstanding the lack of case
         law.” Ferraro, 284 F.3d at 1199 (internal quotation and citation
         omitted). The facts in this case are also “so far beyond the hazy border

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    The Eleventh Circuit noted that:

         The Sage Launcher is a “less lethal” munition that fires a polyurethane baton that
         is 1.5 inches wide, travels approximately 240 feet per second, and delivers a force
         of 154 foot/pounds of energy-approximately the energy of a professionally-thrown
         baseball. The Sage Launcher was designed to be used to protect persons from self-
         inflicted injury, especially when using a night stick or baton would be unsafe or
         impractical. The projectile is not designed to penetrate the body, but only to leave
         bruises.

Mercado, 407 F.3d at 1155.

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        between excessive and acceptable force that [the official] had to know
        he was violating the Constitution even without caselaw on point.”
        Willingham, 321 F.3d at 1303.

Mercado, 407 F.3d at 1160.

        Turning to the facts in Garner, Edward Garner was a burglary suspect fleeing

from officers in Memphis, Tennessee.

        Garner, stopped at a 6-feet-high chain link fence at the edge of [a] yard.
        With the aid of a flashlight, [police officer] Hymon was able to see
        Garner's face and hands. He saw no sign of a weapon, and, though not
        certain, was “reasonably sure” and “figured” that Garner was unarmed.
        App. 41, 56; Record 219. He thought Garner was 17 or 18 years old and
        about 5′5″ or 5′7″ tall. While Garner was crouched at the base of the
        fence, Hymon called out “police, halt” and took a few steps toward him.
        Garner then began to climb over the fence. Convinced that if Garner
        made it over the fence he would elude capture, Hymon shot him. The
        bullet hit Garner in the back of the head. Garner was taken by
        ambulance to a hospital, where he died on the operating table.

Garner, 471 U.S. at 3–4 (footnotes omitted). On those facts, the Supreme Court

held:

        Where the suspect poses no immediate threat to the officer and no threat
        to others, the harm resulting from failing to apprehend him does not
        justify the use of deadly force to do so. It is no doubt unfortunate when
        a suspect who is in sight escapes, but the fact that the police arrive a
        little late or are a little slower afoot does not always justify killing the
        suspect. A police officer may not seize an unarmed, nondangerous
        suspect by shooting him dead. The Tennessee statute is unconstitutional
        insofar as it authorizes the use of deadly force against such fleeing
        suspects.

              It is not, however, unconstitutional on its face. Where the officer
        has probable cause to believe that the suspect poses a threat of serious
        physical harm, either to the officer or to others, it is not constitutionally
        unreasonable to prevent escape by using deadly force. Thus, if the
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       suspect threatens the officer with a weapon or there is probable cause
       to believe that he has committed a crime involving the infliction or
       threatened infliction of serious physical harm, deadly force may be used
       if necessary to prevent escape, and if, where feasible, some warning has
       been given.

Garner, 471 U.S. at 11–12. Again, as in Mercado, Garner was not physically

struggling with officers, actively resisting arrest, or attempting to and/or taking

control of a weapon being held by a law enforcement officer. Further, Woodruff did

not aim for or shoot Lawrence in the head as officers did in both Garner and

Mercado.

       Mercado and Garner are both factually distinguishable,5 and the broad

general principles announced in those cases are inapposite to this case. See Garner,

471 U.S. at 11 (1985) (“Where the officer has probable cause to believe that the

suspect poses a threat of serious physical harm, either to the officer or to others, it is

not constitutionally unreasonable to prevent escape by using deadly force.”);

Mercado, 407 F.3d at 1160 (“Officer Padilla should not have needed case law to



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  Plaintiff appears to concede that Garner is factually distinguishable. “Though this is not a fleeing
felon case, the law established in Garner provides an important frame of reference for
consideration of plaintiff’s claim.” (Doc. 43 at 19). The Supreme Court has declined to expand
the application of Garner beyond the fact-specific constraints of that decision. See Scott v. Harris,
550 U.S. 372, 382–83, 127 S. Ct. 1769, 1777, 167 L. Ed. 2d 686 (2007) (“Garner was simply an
application of the Fourth Amendment's ‘reasonableness’ test, Graham, supra, at 388, 109 S.Ct.
1865, to the use of a particular type of force in a particular situation. Garner held that it was
unreasonable to kill a ‘young, slight, and unarmed burglary suspect, 471 U.S., at 21, 105 S.Ct.
1694, by shooting him ‘in the back of the head’ while he was running away on foot, id., at 4, 105
S.Ct. 1694, and when the officer ‘could not reasonably have believed that [the suspect] ... posed
any threat,’ and ‘never attempted to justify his actions on any basis other than the need to prevent
an escape,’ id., at 21, 105 S.Ct. 1694.”).
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know that by intentionally shooting Mercado in the head, he was violating Mercado's

Fourth Amendment rights.”).      Although the facts of this case are tragic and

disturbing, they are not so egregious as to present a violation of constitutional law

in the absence of precedent. Lawrence was visibly and vocally resistant throughout

the incident. His refusal to abide by the most basic of lawful commands from

Woodward and Rhodes needlessly escalated the encounter from detention to arrest

to a struggle that lasted longer than two minutes culminating in Lawrence having

possession of the very weapon law enforcement had ineffectually used in the effort

to subdue him and take him into custody without resort to deadly force. Even

construing the evidence in the light most favorable to the Plaintiff, the video

evidence inescapably demonstrates that Woodruff had probable cause to believe that

Lawrence, in possession of the Taser, posed a serious threat of physical harm to

herself, Rhodes, and Skipper.

      Again, we must look at the situation not with hindsight, but with the
      eye of the objectively reasonable officer on the scene. From the scene,
      we have a man who for a considerable time has consistently put his life
      and the lives of others in danger and who has shown that he has every
      intention of fighting and forcibly escaping arrest if possible. We cannot
      say the defendants' acts were beyond the outside borders of objective
      reasonableness given all the circumstances.

Garrett v. Athens-Clarke Cty., Ga., 378 F.3d 1274, 1281 (11th Cir. 2004).

      The Supreme Court recently held in favor of qualified immunity for a police

officer a case in which a suspect who had engaged in erratic behavior “was armed

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with a large knife; was within striking distance of [a bystander]; ignored the officers'

orders to drop the weapon; and the situation unfolded in less than a minute. Kisela

v. Hughes, 138 S. Ct. 1148, 1154, 200 L. Ed. 2d 449 (2018). In this case, Lawrence

displayed agitated, confrontational behavior, armed himself by taking possession of

an officer’s weapon, was within striking distance to two officers, had ignored almost

every command leading up to that moment, and the situation unfolded in a very brief

period of time. Woodruff reasonably believed, even if perhaps mistakenly, that

Lawrence was an immediate threat to others.

      Where constitutional guidelines seem inapplicable or too remote, it
      does not suffice for a court simply to state that an officer may not use
      unreasonable and excessive force, deny qualified immunity, and then
      remit the case for a trial on the question of reasonableness. An officer
      “cannot be said to have violated a clearly established right unless the
      right's contours were sufficiently definite that any reasonable official in
      the defendant's shoes would have understood that he was violating it.”
      Plumhoff v. Rickard, 572 U.S. ––––, ––––, 134 S.Ct. 2012, 2023, 188
      L.Ed.2d 1056 (2014).

Kisela, 138 S. Ct. at 1153, 200 L. Ed. 2d 449 (2018). In this case, a reasonable

officer, confronted with a physically and verbally resistant arrestee who had

managed to take control over an officer’s weapon in the course of an ongoing

struggle with those officers, could have reasonably believed that Lawrence presented

an immediate threat of serious physical harm to her and the other officers present.

There is no sufficiently definite existing precedent that squarely governs the specific

facts at issue. Accordingly, Woodruff is entitled to qualified immunity.

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              2. Count II – State Law Claims

      In the Complaint, Plaintiff alleged a state law claim of “Assault and

Battery/Excessive Force,” specifically arguing that “Woodruff shot and killed

Lawrence … in violation of clear City policy regarding when deadly force is

permissible.” (Doc. 1 at ¶¶ 71-72). In her motion for summary judgment, Woodruff

argues that she is “entitled to peace officer/state agent immunity under § 6-5-338(a),

Ala. Code 1975 and Ex parte Cranman, 792 So. 2d 392 (Ala. 2000).” (Doc. 64 at

53). Plaintiff also moved for summary judgment as to Count II of the Complaint.

(Doc. 43 at 28)(“[T]his Court should grant plaintiff’s motion and enter judgment for

plaintiff as to liability regarding plaintiff’s excessive force claim against defendant

Woodruff.”). In response to Woodruff’s invocation of state agent and peace officer

immunity, Plaintiff argues that Woodruff is not entitled to immunity because “a

reasonable jury can conclude that Woodruff lacked arguable reasonable suspicion

for a Terry stop and that Woodruff used excessive force on Lawrence, in violation

of U.S. Constitution and § 1983. A reasonable jury can also conclude, therefore, that

Woodruff acted contrary to the Constitution and also willfully, maliciously, in bad

faith, and beyond her authority.” (Doc. 70 at 50). Plaintiff raised no other argument

in reference to peace officer or state agent immunity in any brief or objection before

this Court.

           Under Alabama law, “[s]tate-agent immunity protects state
      employees, as agents of the State, in the exercise of their judgment in
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 executing their work responsibilities.” Ex parte Hayles, 852 So.2d 117,
 122 (Ala.2002). In Ex parte Cranman, 792 So.2d 392 (Ala.2000), a
 plurality of the Alabama Supreme Court restated and clarified the scope
 of Alabama's state-agent immunity doctrine, which bars suit against law
 enforcement officers effecting arrests, except to the extent the officer
 acted willfully, maliciously, fraudulently, in bad faith, beyond his legal
 authority, or under a mistaken interpretation of law, or if the
 Constitution or laws of the United States or Alabama require otherwise.
 Id. at 405.

        There is also statutory, discretionary-function immunity in
 Alabama. Specifically, § 6–5–338 of the Alabama Code contains a
 provision immunizing law enforcement officers from tort liability for
 conduct within the scope of their discretionary law enforcement duties.
 Ala. Code § 6–5–338(a) (1994) (“Every peace officer ... shall have
 immunity from tort liability arising out of his or her conduct in
 performance of any discretionary function within the line and scope of
 his or her law enforcement duties.”). Cranman's test for state-agent
 immunity governs whether law enforcement officers are entitled to
 statutory, discretionary-function immunity under § 6–5–338(a). Ex
 parte City of Tuskegee, 932 So. 2d 895, 904 (Ala. 2005) (“The
 restatement of State-agent immunity as set out in Cranman, 792 So. 2d
 at 405, now governs the determination of whether a peace officer is
 entitled to immunity under § 6–5–338(a).”). So for our purposes, the
 question of whether … police officers … receive immunity for
 Plaintiffs' state-law claims depends on application of Cranman's state-
 agent immunity test.

         The Alabama Supreme Court established a burden-shifting
 framework for application of the state-agent immunity test. A defendant
 initially bears the burden of demonstrating that he was acting in a
 function that would entitle the agent to immunity. Ex parte Estate of
 Reynolds, 946 So.2d 450, 452 (Ala. 2006). “If the State agent makes
 such a showing, the burden then shifts to the plaintiff to show that the
 State agent acted willfully, maliciously, fraudulently, in bad faith, or
 beyond his or her authority.” Id.


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Brown v. City of Huntsville, Ala., 608 F.3d 724, 740–41 (11th Cir. 2010).

      Turning to Plaintiff’s claim against Woodruff, Plaintiff appears to dispute that

Woodruff was acting within the scope of her discretionary functions as law

enforcement officer because, he argues, “a reasonable jury can conclude that

Woodruff lacked arguable reasonable suspicion for a Terry stop and that Woodruff

used excessive force on Lawrence, in violation of U.S. Constitution and § 1983.”

(Doc. 70 at 50). However, Plaintiff’s argument is inconsistent with his earlier

statement in his Motion for Partial Summary Judgment that “[i]n qualified immunity

analysis, once a public official has shown he or she was acting within the scope of

his or his discretionary authority, which defendant has here, the burden shifts to the

plaintiff to show the official’s conduct violated clearly established law.” (Doc. 43 at

21)(emphasis added).

      The Alabama Supreme Court has applied the same “arguable probable
      cause” standard utilized in this Court's federal qualified immunity cases
      for determining whether a city police officer receives state-agent
      immunity for his role in an arrest. Borders v. City of Huntsville, 875
      So.2d 1168, 1180 (Ala.2003) (“If ... a jury question exists as to whether
      [the officer] acted with arguable probable cause, [then] the summary
      judgment [to the officer] must be reversed.”).

Brown, 608 F.3d at 741. Regardless of Plaintiff’s conflicting arguments regarding

discretionary function, as discussed above Woodruff is entitled to receive qualified

immunity for her conduct in arresting Lawrence because the facts, construed in the

light most favorable to the Plaintiff, show that Woodruff had probable cause to arrest

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Lawrence. That same analysis applies to determining whether Woodruff receives

state-agent immunity for her role in the arrest. Plaintiff thus bears the burden of

showing that Woodruff acted willfully, maliciously, fraudulently, in bad faith,

beyond her legal authority, or under a mistaken interpretation of the law.

        As to Plaintiff’s state law claim of assault and battery/excessive force, he has

not carried his burden to show facts supporting willful, malicious, fraudulent, bad

faith, or legally unauthorized actions by Woodruff against Lawrence. As noted

above, Plaintiff’s entire argument as to this issue is that “a reasonable jury can also

conclude, therefore, that Woodruff acted contrary to the Constitution and also

willfully, maliciously, in bad faith, and beyond her authority.” (Doc. 70 at 50).

Plaintiff has argued a bare, unadorned legal conclusion that is simply insufficient to

meet this burden. Woodruff’s “use of force against [Lawrence] does not constitute

a constitutional violation, and neither does it show the required willfulness,

maliciousness, fraud, or bad faith necessary to deny [Woodruff] state-agent and

statutory, discretionary-function immunity.” Brown, 608 F.3d at 742. Accordingly,

Woodruff’s motion for summary judgment as to Count II of the Complaint is due to

be granted.

   V.      CONCLUSION




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      After an independent and de novo review of the record, the court concludes

that the magistrate judge’s recommendation should be adopted in part and rejected

in part. Accordingly and for the reasons herein stated, it is

      ORDERED that Plaintiff’s Motion for Partial Summary Judgment (Doc. 43)

be and is DENIED. It is further

      ORDERED that Defendants’ City of Dothan, Alabama, Benton, and

Summerlin’s Motion for Summary Judgment (Doc. 63) be and is GRANTED. It is

further

      ORDERED that Defendant Woodruff’s objection (Doc. 77) is SUSTAINED

and that her Motion for Summary Judgment (Doc. 63) be and is GRANTED.

      A final judgment will be entered separately.

      DONE and ORDERED this 8th day of November 2018.


                                               /s/ Emily C. Marks
                                              EMILY C. MARKS
                                        UNITED STATES DISTRICT JUDGE




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